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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA
CRIMINAL ACTION NO.
v.
1:23-CR-047-MHC-JEM
KRISTOPHER KNEUBUHLER

AGREED RESTITUTION ORDER

This matter is before the Court on the requests for restitution for victims of
Defendant's offense of conviction.

The United States and Defendant agree that 18 U.S.C. § 2259 requires the
Court to impose restitution for the offense of conviction, namely, possession of
visual depictions of minors engaged in sexually explicit conduct, in violation of 18
U.S.C. § 2252(a)(4). The parties further agree that, under 18 U.S.C. § 3663(a)(3), “the
[CJourt may also order restitution in any case to the extent agreed to by the parties
in the plea agreement.”

In the present case, Defendant agreed in the plea agreement to make full
restitution to the victims of the offense and relevant conduct.

There is no dispute that Defendant possessed visual depictions of identified
minors engaged in sexually explicit conduct. Additionally, there is no dispute that
the identified minors constitute victims of the offense of conviction or relevant

conduct.
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IT IS THEREFORE AGREED BY THE PARTIES, that Defendant is
responsible for harm or losses suffered by the victims. Accordingly, Defendant
agrees to pay restitution to each of the victims in amounts that comport with
Defendant's relative role in causing the total harm or losses suffered by the victims
but not less than $3,000 in restitution per victim.

Upon the application of the United States, the presentence report,
Defendant's conviction, the agreement of the parties, and all other proceedings in
this case, it is hereby ORDERED as follows:

1. Amount of Restitution

Defendant shall pay restitution in the aggregate amount of $20,500.00 to the
identified victims. The names, addresses, and specific amounts owed to each
victim are set forth in the Confidential Schedule of Victims to be provided by the
Government at a separate date and under separate cover. Upon advice by the
United States Attorney’s Office of a change of address of a victim, the Clerk of the
Court is authorized to send payment to the new address without further order of
this Court.

2. Schedule of Payments

Notwithstanding any other provision of this Agreed Restitution Order or

the sentence imposed, including the directive to make periodic payments,

restitution is due in full and payable immediately from assets known and
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unknown and including assets identified in the Presentence Report. The
Government may enforce restitution at any time. Interest shall accrue as provided
in 18 U.S.C. § 3612(f).

Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources
and assets of Defendant and the interest of justice, restitution shall be payable in
installments pursuant to 18 U.S.C. § 3572(d)(1) and (2). The payment schedule
below shall not preclude enforcement of the restitution judgment by the United
States Attorney pursuant to 18 U.S.C. §§ 3613 and 3664(m).

During any period of incarceration in a prison in the United States, payment
of criminal monetary penalties remains due. The Court encourages Defendant to
participate in the Bureau of Prisons’ Inmate Financial Responsibility Program, to
comply with the provisions of the financial plan, and to meet Defendant's financial
obligation, pursuant to 28 C.F.R. § 545.10-11. Defendant shall pay, at a minimum,
the greater of $25 or 50% of the deposits in his inmate trust account per quarter.

Any portion of the criminal monetary debt that remains unpaid at the time
of Defendant's release from imprisonment shall be paid to the Clerk at the monthly
rate of at least $250 per month or 25 percent of gross monthly income in excess of
$2,500, beginning 30 days after release from imprisonment. This payment schedule
is subject to be changed, if needed, based on Defendant's changed circumstances,

pursuant to 18 U.S.C. § 3572(d)(3).
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Defendant shall receive credit for all payments previously made toward any

criminal monetary penalties imposed herein.

3. Payment Instructions

All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to
the clerk of the court. Defendant shall make restitution payments by certified
check, bank check, money order, or cash. Checks and money orders shall be made
payable to “Clerk, U.S. District Court” and mailed or hand-delivered to:

Northern District of Georgia
2211 U.S. Courthouse
75 Ted Turner Drive, SW.
Atlanta, GA 30303

Defendant shall include his name and the docket number of this case on each
payment instrument. Any cash payment must be hand-delivered to the Clerk’s
Office using exact change and shall not be mailed.

4, Additional Provisions

Within 30 days of (a) any change of name, residence, or mailing address;

and/or (b) any material change in economic circumstances that affects the ability
to pay restitution, Defendant shall notify the Clerk of Court, the United States
Probation Office (during any period of probation or supervised release), and the

United States Attorney’s Office, Financial Litigation Program, 75 Ted Turner

Drive, Suite 600, Atlanta, Georgia 30303.
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5. Confidential Schedule of Victims

Consistent with 18 U.S.C. §§ 3771(a)(8) & 3664(d)(4) and Federal Rule of
Criminal Procedure 49.1, to protect the privacy interests of victims, the Schedule
of Victims shall remain confidential, except that copies may be retained and used
by the Government, the Clerk’s Office, and the United States Probation Office, as
needed to enforce this Agreed Restitution Order, without further order of this
Court.

IT IS SO ORDERED THIS Gee DAY OF APRIL 2024.

Mah KOA,

MARK H. COHEN
UNITED STATES DISTRICT JUDGE

Order submitted by:

Stivctnhe pg
G F
Theodore Hertzberg
Assistant United States Attorney

SEEN AND AGREED TO BY:

Me

Kristopher Kneubuhler

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Lawrence J. Zimethernan

Counsel for Defendant Kristopher Kneubuhler

Victim Alias

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Series

Schedule A -- Confidential Schedule of Victims

(under seal)
Address

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Amount

fen

JBN Flowers 1

Restore the Child in Trust for Jen
Restore the Child, PLLC

2522 N Proctor Street, Suite 85
Tacoma, WA 98406

$4,000

JBN Flowers 2

Restore the Child in Trust for Ivy
Restore the Child, PLLC

2522 N Proctor Street, Suite 85
Tacoma, WA 398406

$4,000

Patty

Linda & Patty 1

Jones Day in trust for Patty
Jones Day

Attn: Kelly Locher

500 Grant Street, Suite 4500
Pittsburgh, PA 15219-2514

$4,000

Lily

Vicky

Carol L. Hepburn [/T/F Lily
P.O. Box 17718
Seattle, WA 98127

$8,500

